                       Case 4:15-cr-00063-DPM                      Document 144          Filed 02/09/16         Page 1 of 7
AO 24 SB (Rev. I 0/ 15) Judgment m a Crimmal Case
                        Sheet I


                                                                                                                                    .'
                                          UNITED STATES DISTRICT COURT                                                        .')




                                                                                                             J. ""-=,~AM?'Mf'K:~cllr\
                                                           Eastern District of Arkansas                      .'.'''.:;~4vr5:t:
               UNITED STATES OF AMERICA                                    )
                                                                            )      JUDGMENT IN A CRIMINAL CASE                                ~cc_ 2 --' :<
                                                                                                                                                 -


                                   v.                                      )
                  MARKEITH DESHUN THOMAS                                   )
                                                                                   Case Number: 4:15CR00063-03 JLH
                                                                           )
                                                                           )       USM Number: 29021-009
                                                                           )
                                                                           )        David Cannon
                                                                           )       Defendant's Attorney
THE DEFENDANT:
Ill pleaded guilty to count(s)          Count 2 of Superseding Indictment

D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                        Offense Ended                Count
 18 u.s.c. §§ 922(j}                 Possession of stolen firearms, a Class C felony                          1/11/2015                   2

   and 924 (a)(2)



       The defendant is sentenced as provided in pages 2 through           __7___ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
Ill Count(s)      1 of Superseding Indictment           1;21' is     Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           2/9/2016




                                                                           J. Leon Holmes, United States District Judge
                                                                          Name and Title of Judge


                                                                           2/9/2016
                                                                          Date
                      Case 4:15-cr-00063-DPM               Document 144           Filed 02/09/16          Page 2 of 7
AO 245B (Rev. 10/15) Judgment in Criminal Case
                       Sheet 2 - Imprisonment

                                                                                                   Judgment -   Page   2   of   7
 DEFENDANT: MARKEITH DESHUN THOMAS
 CASE NUMBER: 4:15CR00063-03 JLH

                                                          IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:
  92 MONTHS




     Ill The court makes the following recommendations to the Bureau of Prisons:

  The Court recommends defendant participate in residential substance abuse treatment, or non-residential if he does not
  qualify for residential, and educational and vocational programs during incarceration.


     Ill The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
          D at                                   D a.m.      D p.m.      on

          D as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                        to

a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                               UNITED STA TES MARSHAL


                                                                        By
                                                                                            DEPUTY UNITED STATES MARSHAL
                        Case 4:15-cr-00063-DPM                   Document 144            Filed 02/09/16           Page 3 of 7
AO 245B (Rev 10/15) Judgment in a Criminal Case
                      Sheet 3 - Supervised Release
                                                                                                             Judgment-Page           of
 DEFENDANT: MARKEITH DESHUN THOMAS
 CASE NUMBER: 4:15CR00063-03 JLH
                                                          SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :
 TWO (2) YEARS

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours ofrelease from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)'. unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)

          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
 D        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

 D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observea in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
           record or ,l'ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
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AO 2458 (Rev. I 0/15) Judgment in a Criminal Case
        Sheet 3A - Supervised Release
                                                                                                          4_ of
                                                                                          Judgment-Page _ _                 7
DEFENDANT: MARKEITH DESHUN THOMAS
CASE NUMBER: 4:15CR00063-03 JLH

                                       ADDITIONAL SUPERVISED RELEASE TERMS
 14) The defendant must participate, under the guidance and supervision of the probation officer, in a substance abuse
 treatment program which may include testing, outpatient counseling, and residential treatment. The defendant must
 abstain from the use of alcohol throughout the course of treatment.

 15) The defendant must disclose business and personal information including all assets (including unexpected financial
 gains) and liabilities to the probation office. The defendant may not transfer, sell, give away, or otherwise convey any
 asset without approval from the probation office.

 16) The defendant may not make application for any loan or enter into any credit arrangement without approval from the
 probation office unless all criminal penalties have been satisfied.
                          Case 4:15-cr-00063-DPM                  Document 144                  Filed 02/09/16        Page 5 of 7
AO 2458 (Rev. 10/15) Judgment in a Criminal Case
         Sheet 5 - Criminal Monetary Penalties
                                                                                                         Judgment -   Page -~-      of        7
 DEFENDANT: MARKEITH DESHUN THOMAS
 CASE NUMBER: 4:15CR00063-03 JLH
                                                   CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                          Assessment                                         Fine                                 Restitution
 TOTALS               $   100.00                                         $    0.00                           $     152,901.53


 D The determination of restitution is deferred until - - - -. An Amended Judgment in a Criminal Case (AO 245C) will be entered
         after such determination.

 el The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
         the priori!)'. order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664{i), all nonfederal victims must be paid
         before the United States is paid.

   Name of Payee                                                               Total Loss*           Restitution Ordered Priority or Percentage
       State Auto Insurance                                                                                  $26,929.26

       Bobby Harvison                                                                                            $9,009.65

       Lake State Transport, Inc.                                                                                $1,103.52

       Heinz North America, AMC                                                                              $54,202.50

       Chase Trucking                                                                                            $5,000.00

       CNA Continental Casuatly Company                                                                      $34,264.14

       Great West Casualty Company                                                                               $1,968.94

       On a Roll Trucking, Inc.                                                                                  $2,500.00

       Creston Electronics                                                                                   $11,808.41

       Cat, Inc.                                                                                                 $4,304.16

       Sam's Club Distribution                                                                                    $310.95


 TOTALS                                $ - - - - - - - -0.00                    $                  152,901.53
                                                         --                         ---------~




 D        Restitution amount ordered pursuant to plea agreement $

 D        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
          fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
          to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 IZJ      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          '2'.] the interest requirement is waived for the      D fine       IZI restitution.
          D the interest requirement for the        D    fine    D restitution is modified as follows:

 *Findings forthe total amount oflosses are required under Chapters 109A, 110, l lOA, and l 13A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
                    Case 4:15-cr-00063-DPM
AO 2458 (Rev. 10/15) Judgment ma Criminal Case
                                                           Document 144            Filed 02/09/16          Page 6 of 7
        Sheet 58 - Crimmal Monetary Penalties
                                                                                                      Judgment-Page            of
DEFENDANT: MARKEITH DESHUN THOMAS
CASE NUMBER: 4:15CR00063-03 JLH

                                           ADDITIONAL RESTITUTION PAYEES
                                                                                                                              Priority or
Name of Payee                                                        Total Loss*             Restitution Ordered              Percenta2e

 Phil Piriani                                                                                           $1,500.00




          * Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and l l 3A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
                       Case in4:15-cr-00063-DPM
AO 245B (Rev. I 0/15) Judgment  a Criminal Case                  Document 144               Filed 02/09/16            Page 7 of 7
        Sheet 6 - Schedule of Payments
                                                                                                                 Judgment - Page             of
DEFENDANT: MARKEITH DESHUN THOMAS
CASE NUMBER: 4:15CR00063-03 JLH

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     i;z:J   Lump sum payment of$ _10_0_._0_0_ _ __ due immediately, balance due

              D    not later than                                     , or
              D    in accordance         D C,        D D,        D E, or         D F below; or
B     D Payment to begin immediately (may be combined with                    D C,         D D, or       D F below); or
C     D Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     D Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
              term of supervision; or

E     D Payment during the term of supervised release will commence within                       (e.g., 30 or 60 days) after release from
              imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     IZI Special instructions regarding the payment of criminal monetary penalties:
               Restitution is payable to the United States District Court Clerk tor disbursement during incarceration and
               supervised release. During incarceration, the defendant will pay 50 percent per month of all funds that are
               available to him. During residential reentry placement, payments will be reduced to 1O percent of the defendant's
               gross monthly income. Beginning the first month of supervised release, payments will be 10 percent per month of
               the defendant's monthly gross income. The interest requirement is waived.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through tbe Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




Ill   Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.

        Restitution will be joint and several with any person who has been or will be convicted on an offense tor which
        restitution to the same victim on the same loss is ordered.



D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
( 5) fine interest, ( 6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
